         Case 1:19-cv-00284-PEC Document 34 Filed 02/12/21 Page 1 of 1




          In the United States Court of Federal Claims
                                       No. 19-284T
                                (Filed: February 12, 2021)

                                            )
 SHIRLEY BREWER                             )
 d/b/a EMERALD                              )
 GROUP/INDUSTRIAL SUPPLIES                  )
 LLC,                                       )
                                            )
                  Plaintiff,                )
                                            )
 v.                                         )
                                            )
 UNITED STATES,                             )
                                            )
                  Defendant.                )
                                            )

                                          ORDER

        On November 9, 2020, plaintiff filed a “motion under RCFC 59 A 1 (a), and or
(B) and 60(B)(1), (5) and (6) requesting [the] court to vacate and/or amend its October 8,
2020 opinion and October 8, 2020, judgment dismissing plaintiff’s amened complaint
with prejudice” in this case. See ECF No. 29. On January 23, 2021, by order of the
court, defendant filed its response brief to plaintiff’s motion. See ECF No. 32. Thus,
plaintiff’s reply in support of her motion was due to be filed by February 1, 2021. As of
the filing of this order, the court has not received plaintiff’s reply.

        In light of plaintiff’s pro se status, the court shall afford plaintiff sua sponte an
enlargement of time of seventeen days, to and including February 19, 2021 within which
to file her reply. Absent the filing of a reply brief, the court shall consider plaintiff’s
motion ripe and a decision will issue in due course.

       Accordingly, on or before February 19, 2021, plaintiff is directed to FILE a
reply in support of her motion, ECF No. 29.

       IT IS SO ORDERED.

                                           s/Patricia E. Campbell-Smith
                                           PATRICIA E. CAMPBELL-SMITH
                                           Judge
